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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                  CLERK OF COURT

Date: October 22, 2021                                       DC Docket #: 19-cv-6078
Docket #: 20-3855cv                                          DC Court: SDNY (NEW YORK
Short Title: Bromfield-Thompson v. American University of    CITY)
Antigua                                                      DC Judge: Furman



                         NOTICE OF CASE MANAGER CHANGE

The case manager assigned to this matter has been changed.

Inquiries regarding this case may be directed to 212-857-8534.
